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 8                         SUPERIOR COURT FOR THE STATE OF CALIFORNIA
 9                                        COUNTY OF SAN DIEGO
10

11     MIGUEL ESPARZA, individually and on behalf      Case No. 37-2022-00051963-CU-CR-CTL
       of a class of similarly situated individuals,   ASSIGNED FOR ALL PURPOSEES TO THE
12                                                     HONORABLE RONALD F. FRAZIER,
                      Plaintiffs,                      DEPT. C-65
13
                      v.
14                                                     FIRST AMENDED            CLASS       ACTION
       KOHLS, INC., a Delaware corporation d/b/a       COMPLAINT
15     KOHLS.COM,
                                                       Complaint Filed: December 29, 2022
16                    Defendants.                      Trial Date: Not Assigned
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 1                                                  INTRODUCTION

 2            Defendant has secretly installed a collection of surveillance tools on its website at

 3     www.kohls.com to identify and “dox” every anonymous visitor and to wiretap and eavesdrop on

 4     all conversations conducted through the website chat feature. Defendant and its marketing

 5     partners then exploit their knowledge of visitors’ identities, habits, and chat topics to bombard

 6     visitors with targeted marketing.

 7            Defendant does all of this without visitors’ effective informed consent. As a result,

 8     Defendant has violated numerous laws.

 9                                         JURISDICTION AND VENUE

10            1.      Defendant is subject to jurisdiction in this state under Penal Code Section 502(j), which

11     provides that a person who causes, by any means, the access of a computer in California from another

12     jurisdiction is deemed to have personally accessed the computer in California. Defendant is also

13     subject to jurisdiction under California’s “long-arm” statute found at California Code of Civil

14     Procedure Section 410.10 because the exercise of jurisdiction over Defendant is not “inconsistent with

15     the Constitution of this state or the United States.”

16            2.      Venue is proper in this County in accordance with California Code of Civil Procedure

17     Section 394(b) because “none of the defendants reside in the state.” As such, venue is proper “in any

18     county that the plaintiff may designate in his or her complaint.”

19                                                       PARTIES

20            3.      Plaintiff is a resident of California. While physically within California within the

21     statute of limitations period, Plaintiff visited Defendant’s Website and conducted a brief conversation

22     with an agent of Defendant through the Website’s chat feature. Plaintiff was not advised that the chat

23     was monitored, intercepted, or recorded.

24            4.      Defendant is a Delaware corporation that sells clothing and other goods throughout the

25     United States via its website and other distribution channels.      Defendant owns, operates, and/or

26     controls the above-referenced Website.

27                                              FACTUAL ALLEGATIONS

28        A. The Right to Privacy Has Always Been a Legally Protected Interest in the United States.


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1           5.      Since America’s founding, privacy has been a legally protected interest at the local,

2    state, and federal levels. See Patel v. Facebook, Inc., 932 F.3d 1264, 1271–72 (9th Cir. 2019) (quoting

3    Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016)) (“Privacy rights have long been regarded ‘as

4    providing a basis for a lawsuit in English or American courts.’”); and Eichenberger v. ESPN, Inc., 876

5    F.3d 979, 983 (9th Cir. 2017) (“Violations of the right to privacy have long been actionable at

6    common law.”).

7           6.      More specifically, privacy protections against the disclosure of certain kinds of

8    sensitive personal information are embedded in California statutes and at common law. See e.g., U.S.

9    Dep't of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 763 (1989) (“The Ninth

10   Circuit has repeatedly held that privacy intrusions may constitute “concrete injury” for purposes of

11   Article III standing); Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037, 1041–43 (9th Cir.

12   2017) (finding “concrete injury” where plaintiffs claimed that unsolicited telemarketing calls “invade

13   the privacy and disturb the solitude of their recipients”); In re Facebook, Inc. Internet Tracking Litig.,

14   956 F.3d 589, 599 (9th Cir. 2020) (finding “concrete injury” where Facebook allegedly tracked users’

15   “personally identifiable browsing history” on third party websites); Patel, 932 F.3d at 1275 (finding

16   “concrete injury” where plaintiffs claimed Facebook’s facial-recognition technology violated users’

17   privacy rights).

18          7.      In short, privacy is—and has always been—a legally protected interest in many

19   contexts, including specifically with regard to sensitive personal information. Thus, a defendant whose

20   acts or practices violate consumer privacy inflicts an actionable “injury” upon an individual.

21      B. The Right to Privacy Includes The Right To Online Anonymity.
22          8.      The right to privacy includes the right to anonymity online. In Re Anonymous Online

23   Speakers, 661 F.3d 1168 (9th Cir. 2011). Indeed, the “free exchange of ideas on the Internet is driven

24   in large part by the ability of Internet users to communicate anonymously.” Doe v. 2TheMart.com

25   Inc., 140 F. Supp. 2d 1088, 1093 (W.D. Wash. 2001).

26          9.      Consumer expectations regarding privacy reinforce the actionability of these rights.

27   According to Pew Research Center nearly all Americans believe it is important to (1) be in control of

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1    who can get information about their online activities; (2) to not be tracked online without their

2    consent; and (3) to be in control of what information is collected about them.

3            10.     Accordingly, most people don't want their private online browsing to be associated with

4    their public offline identities. This is because online anonymity gives the freedom to investigate,

5    explore, and research without fear of social repercussions. In addition, online anonymity helps prevent

6    security breaches, surveillance and intrusive web-tracking.

7        C. The De-Anonymization of Internet Users Poses a Serious Threat to Personal Privacy and
8            the Internet.
9            11.     In simple terms, de-anonymization is a process that involves cross-referencing

10   anonymized data with “commercially available information” (“CAI”) obtained from grey data markets

11   to reveal an individual's identity.

12           12.     As the Director of National Intelligence explained in a January 22, 2022 report

13   (approved for public release on June 5, 2023) (the “DNI Report”), “the volume and sensitivity of CAI

14   have expanded in recent years mainly due to the advancement of digital technology, including

15   location-tracking and other features of smartphones and other electronic devices, and the advertising-

16   based monetization models that underlie many commercial offerings available on the Internet.”

17           13.     The Director of National Intelligence concluded (1) that the existence of these practices

18   poses a threat to national security since it is available to foreign governments since it “clearly provides

19   intelligence value,” and (2) that it “raises significant issues related to privacy and civil liberties.”

20           14.     The Director of National Intelligence concluded that the “single most important point”

21   is that the expansion of CAI is “increasingly powerful for intelligence and increasingly sensitive for

22   individual privacy and civil liberties” such that the Intelligence Community “needs to develop more

23   refined policies to govern its acquisition and treatment.”

24       D. Defendant Uses “Identity Resolution” Tools to Access Every Visitor’s Device, Reveal

25           Their Identities, and Publicize Their Personal Information to Its Marketing Partners.

26           15.     As noted above, internet users have the right to remain anonymous. Nevertheless, some

27   companies sell website owners “identity resolution” malware tools to de-anonymize and track website

28   visitors. Identity resolution is generally defined as “the ability to recognize an individual person, in


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1    real-time, by connecting various identifiers from their digital interactions across devices and

2    touchpoints.”              See https://www.fullcontact.com/identity-resolution/ (last downloaded September

3    2023).

4             16.       Identity resolution requires the collection of “technical markers” and other clues that

5    digital visitors leave when they use the internet, even though most users “are trying to reveal as little

6    information as possible.”                        See https://venturebeat.com/ai/what-is-identity-resolution-its-benefits-

7    challenges-and-best-practices/ (last downloaded September 2023). Those “technical markers” include

8    routing information, locally stored data (sometimes called “cookies”), and idiosyncratic behavior of

9    computers. The techniques have grown much more sophisticated over the years, and modern identity

10   resolution algorithms rely upon dozens of types of details and digital footprints. Id.

11            17.       In short, identity resolution providers aggregate visitor “touchpoints” containing

12   anonymous identifiers to find links between the anonymous identifiers until the data compiled into a

13   dossier about an anonymous individual can be linked to a specific individual by name, age, address,

14   physical location, and more.

15            18.       The following visual depiction shows an example of how identity resolution providers

16   aggregate dozens of “touchpoints” to identify an anonymous internet user:

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                      Consumer Identity Resolution
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                                Mary Smith at Home
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                                        ....,                          Targeting
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1           19.      In the above example, the identity resolution provider has aggregated and analyzed

2    dozens of anonymous “touchpoints” to reveal the following about a previously anonymous internet

3    user, Mary Smith:

4                    (a) Full name (Mary Smith)

5                    (b) Date of birth (May 1, 1979)

6                    (c) Gender (female)

7                    (d) Home address (2345 Avenue C, Papillion Nebraska)

8                    (e) Marital Status and Family (Married with two children)

9                    (f) E-mail address (Mary.Smith@gmail.com)

10                   (g) Personal Cell Phone: (111) 123-4567

11                   (h) Voter Registration Status (Registered)

12                   (i) Interests (Shopping, Cooking, Traveling, Reading, Science)

13                   (j) Employer (Karen’s Fireside, Inc.)

14                   (k) Title (Vice President)

15                   (l) Work Hours (Daily 9-5)

16          20.      To identify and “dox” each visitor, Defendant has deployed the following malware

17   tools on its website:

18                a. LiveRamp: LiveRamp’s Identity Resolution software secretly installs a “persistent

19                   cookie” on every user’s device to identify anonymous “by connecting billions of touch

20                   points, such as emails, devices, and purchases.”      See https://liveramp.com/why-

21                   foundational-identity/ (last downloaded September 2023).

22                b. RapLeaf by ATData: Rapleaf’s “Identity Matching” software de-anonymizes website

23                   visitors by “building a complete picture of your customers across channels with

24                   AtData’s proprietary technology and data assets, including more than 1 billion unique

25                   customer records.” See https://www.atdata.com/identity (last downloaded September

26                   2023).

27          21.      Within the statute of limitations period, Plaintiff visited Defendant’s website and

28   communicated with Defendant via Defendant’s chat feature. As a result of Defendant’s use of identity


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1    resolution malware and intrusion onto Plaintiff’s device, Defendant obtained plaintiff’s personal

2    information and embedded Plaintiff’s identity into the malware companies’ extensive “gray market

3    CAI” database, which the malware companies share virally with other companies that purchase their

4    products.

5           22.     As a result of Defendant’s wrongful conduct: (1) Plaintiff has been de-anonymized and

6    Plaintiff’s personal information has been added to an extensive malware database; (2) Plaintiff has

7    been bombarded with targeted advertising, e-mails, and telephone calls; (3) Plaintiff can no longer surf

8    the web anonymously; and (4) Plaintiff has been exposed to heightened risk of identity theft.

9           23.     In short, Defendant has deprived Plaintiff of numerous important privacy rights

10   protected under California common law and statutes. Defendant’s conduct amounts to “doxing by

11   deanonymization” and robs Plaintiff of anonymity and obscurity. As a result, it is now easier for other

12   companies to obtain other types of identity knowledge about Plaintiff and subject Plaintiff to further

13   doxing. See Doxing: A Conceptual Analysis, Ethics and Information Technology (Volume 18, pages

14   199–210 (2016).

15      E. Defendant’s Further Violation of California Invasion of Privacy Act.

16          24.     In addition to de-anonymizing and doxing class members, Defendant also allows a

17   company to wiretap and eavesdrop upon class member communications through the website chat

18   feature in violation of California law.

19          25.     CIPA prohibits both wiretapping and eavesdropping of electronic communications

20   without the consent of all parties to the communication. “‘[T]he right to control the nature and extent

21   of the firsthand dissemination of [one’s] statements’” is viewed by the California Supreme Court “as

22   critical to the purposes of Section 631[.]” Javier v. Assurance IQ, LLC, 2023 WL 114225, at *6 (N.D.

23   Cal. Jan. 5, 2023) (Breyer, J.) (quoting Ribas v. Clark, 38 Cal. 3d 355, 361 (1985)); Ribas, 38 Cal. 3d

24   at 360-61 (“a substantial distinction has been recognized between the secondhand repetition of the

25   contents of a conversation and its simultaneous dissemination to an unannounced second auditor,

26   whether that auditor be a person or mechanical device”). “[U]nder Section 631, it has always mattered

27   who is holding the tape recorder[.]” Javier, 2023 WL 114225, at *6. Compliance with CIPA is easy,

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1    and most website operators comply by conspicuously warning visitors if their conversations are being

2    recorded, intercepted, or eavesdropped upon.

3            26.     Unlike most companies, Defendant ignores CIPA. Instead, Defendant enables and

4    allows the third parties to eavesdrop on all such conversations. Why? Because, as one industry expert

5    notes, “Live chat transcripts are the gold mines of customer service. At your fingertips, you have

6    valuable customer insight to make informed business decisions. . . .When people are chatting, you

7    have direct access to their exact pain points.”). See https://www.ravience.co/post/improve-marketing-

8    roi-live-chat-transcripts (last visited July 2023) (emphasis added).

9            27.     To enable the eavesdropping, Defendant allowed a company named Ada Support Inc.

10   (hereinafter, “ASI”) to embed its chat technology code into the chat feature offered on Defendant’s

11   Website. Indeed, whenever a consumer chats via Defendant’s Website, the chat is routed through

12   ASI’s servers so they may simultaneously collect a transcript of that chat, along with other user data,

13   in real time and save it for later access.

14           28.     ASI’s product is a type of automatic routing software that automatically acquires and

15   transmits user chat communications to ASI without any active input from either Defendant’s

16   employees, agents, or human representatives. ASI acquires Website visitors’ chat communications by

17   first having its software route them to ASI’s own computer servers that it owns, controls, and

18   maintains. The secret code enables and allows ASI to secretly intercept in real time, eavesdrop upon,

19   and store transcripts of consumers’ chat communications they think they are having with Defendant,

20   even when such conversations are private and contain personally identifiable information (“PII”) – as

21   Plaintiff’s did. Defendant neither informs visitors of this conduct nor obtains their consent to these

22   intrusions.

23           29.     Indeed,    ASI    admits     that   it   collects   and   stores   chat   transcripts.   See

24   https://docs.ada.cx/en/integrate-ada-with-other-tools/attach-chat-summaries-to-handoff-

25   transcripts.html (last downloaded September 2023). One might reasonably wonder why ASI would be

26   interested in intercepting and recording the Website chat interactions between Defendant and

27   unsuspecting visitors to Defendant’s Website. As shown below, it all about money.

28           30.     ASI is integrated with social media platforms like Meta and its subsidiaries, Facebook


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1    and Kustomer. See https://apps.ada.cx/ (“Move from AI to live chat with an agent in Kustomer,

2    directly in the Ada chat. . . Automate customer interactions in Facebook Messenger for a consistent

3    brand experience.”) (last visited September 2023). Integration allows various software sub-systems to

4    share data to operate as a unified system. According to Bloomberg.com, this is all part of Meta’s

5    secret “plan to profit from private chats.” As Bloomberg explained, Meta’s software integration “can

6    manage customer messages from multiple services on one central dashboard. That’s central to Meta’s

7    plan to make money off of its two messaging apps, WhatsApp and Messenger.” See

8    https://www.bloomberg.com/news/articles/2022-02-15/meta-closes-1-billion-kustomer-deal-after-

9    regulatory-review (last downloaded September 2023).

10          31.     So how does it work? First, Meta identifies “user interests” by monitoring a collection

11   of “offsite” user activity such as website visits and interactions (including private chat

12   communications between Defendant and visitors) by “integrating” its software with ASI and the

13   Identity Resolution Malware Companies identified above. Second, Meta and the Identity Resolution

14   Malware Companies generate revenue based on their ability to identify anonymous internet users,

15   along with their habits, preferences, and interests.    Third and finally, after the chat transcripts

16   intercepted by ASI are provided to Meta and the Third Party Identity Resolution Malware Companies,

17   visitors are bombarded with targeted advertising, e-mails, and telephone calls.

18          32.     Through the preceding acts, Meta’s boasts that it will “Transform your support center

19   into a profit generator by bulk messaging specific customer segments based on your unique data…to

20   reengage dissatisfied customers.”     See https://www.kustomer.com/product/customer-service/ (last

21   downloaded September 2023( (link preserved but since disabled).

22          33.     ASI does more than merely provide a storage function for Defendant regarding Website

23   users’ chat communications with Defendant. As shown above, ASI uses its record of Website users’

24   interaction with Defendant’s chat feature to enable targeted marketing by Defendant and the Identity

25   Resolution Malware Companies.

26          34.     Indeed, all of the schemers – Defendant, ASI, Meta, and the Identity Resolution

27   Malware Companies – all profit from secretly exploiting their ability to identify anonymous

28   individuals who have visited Defendant’s website. How? Because “Targeted advertising allows


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1    brands to send different messaging to different consumers based on what the brand knows about the

2    customer. The better a brand can demonstrate that it understands what its customers want and need,

3    the more likely customers respond to advertising and engage with the brand. . . .Social media

4    targeting helps brands leverage consumers’ behavior on the web, search engines, and social media

5    sites to present ads that reflect consumer interests.”1

6           35.       Plaintiff’s conversations through the website chat feature was transmitted from “cellular

7    radio telephony” as defined by CIPA. By definition, Defendant’s chat communications from its

8    Website are transmitted to website visitors by either cellular telephony or landline telephony. See

9    https://www.britannica.com/technology/Internet (“How does the Internet work?”) (“The Internet works

10   through a series of networks that connect devices around the world through telephone lines.”) (last

11   visited September 2023) (emphasis added).

12          36.       Defendant did not inform Class members that Defendant was secretly allowing, aiding,

13   and abetting ASI to intercept and eavesdrop on the conversations during transmission, or that ASI

14   provided data from such transcripts to Meta and the malware companies through “integration” with

15   Meta software.

16          37.       Defendant did not obtain class members’ effective consent for the preceding intrusions,

17   nor were class members aware of Defendant’s conduct.

18                                                CLASS ALLEGATIONS

19          38.       Plaintiff brings this action individually and on behalf of all others similarly situated (the

20   “Class”) defined as follows:

21                    All persons within the state of California who within the statute of

22                    limitations period: (1) visited Defendant’s website; and (2) were exposed to

23                    the wrongful conduct described above.

24          39.       NUMEROSITY: Plaintiff does not know the number of Class members but believes the

25   number to be at least 50 but not more than 100. The exact identities of Class members may be

26   ascertained by the records maintained by Defendant.

27   1 See https://www.adroll.com/blog/what-is-targeted-

28   advertising#:~:text=Targeted%20advertising%20allows%20brands%20to,and%20engage%20with%2
     0the%20brand (last September 2023).

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1            40.      COMMONALITY: Common questions of fact and law exist as to all Class members,

2    and predominate over any questions affecting only individual members of the Class. Such common

3    legal and factual questions, which do not vary between Class members, and which may be determined

4    without reference to the individual circumstances of any Class member, include but are not limited to

5    the following:

6            a.       Whether Defendant engaged in the wrongful conduct described above;

7            b.       Whether Plaintiff and Class members are entitled to statutory penalties; and

8            c.       Whether Class members are entitled to injunctive relief.

9            41.      TYPICALITY: As a person who visited Defendant’s Website, whose privacy was

10   invaded and whose electronic communication was recorded, intercepted and eavesdropped upon,

11   Plaintiff is asserting claims that are typical of the Class.

12           42.      ADEQUACY: Plaintiff will fairly and adequately protect the interests of the members

13   of The Class. Plaintiff has retained attorneys experienced in the class action litigation. All individuals

14   with interests that are actually or potentially adverse to or in conflict with the class or whose inclusion

15   would otherwise be improper are excluded.

16           43.      SUPERIORITY: A class action is superior to other available methods of adjudication

17   because individual litigation of the claims of all Class members is impracticable and inefficient. Even

18   if every Class member could afford individual litigation, the court system could not. It would be

19   unduly burdensome to the courts in which individual litigation of numerous cases would proceed.

20                                             FIRST CAUSE OF ACTION

21                                 Violations of the California Invasion of Privacy Act

22                                                Cal. Penal Code § 631(a)

23           44.      “Any person who, by means of any machine, instrument, or contrivance, or in any other

24   manner, [i] intentionally taps, or makes any unauthorized connection, whether physically, electrically,

25   acoustically, inductively, or otherwise, with any telegraph or telephone wire, line, cable, or instrument,

26   including the wire, line, cable, or instrument of any internal telephonic communication system, or [ii]

27   who willfully and without the consent of all parties to the communication, or in any unauthorized

28   manner, reads, or attempts to read, or to learn the contents or meaning of any message, report, or


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1    communication while the same is in transit or passing over any wire, line, or cable, or is being sent

2    from, or received at any place within this state; or [iii] who uses, or attempts to use, in any manner, or

3    for any purpose, or to communicate in any way, any information so obtained, or [iv] who aids, agrees

4    with, employs, or conspires with any person or persons to unlawfully do, or permit, or cause to be

5    done any of the acts or things mentioned above in this section, is punishable by a fine . . . .” Yoon v.

6    Lululemon USA, Inc., 549 F. Supp. 3d 1073, 1080 (C.D. Cal. 2021) (Holcomb, J.) (line breaks and

7    headings of clauses added for ease of reference) (quoting Cal. Penal Code § 631(a)).

8           45.     Section 631 of the California Penal Code applies to internet communications and thus

9    applies to Plaintiff’s and the Class’s electronic communications with Defendant’s Website. “Though

10   written in terms of wiretapping, Section 631(a) applies to Internet communications.                     It

11   makes liable anyone who ‘reads, or attempts to read, or to learn the contents’ of a communication

12   ‘without the consent of all parties to the communication.’” Javier v. Assurance IQ, LLC, 2022 WL

13   1744107, at *1 (9th Cir. 2022); Yoon, 549 F. Supp. 3d at 1080 (“Courts agree … that CIPA § 631

14   applies to communications conducted over the internet.”) (citing Matera v. Google Inc., 2016 WL

15   8200619, at *18 (N.D. Cal. Aug. 12, 2016) (Koh, J.) (holding that second clause of section 631(a)

16   “encompasses email communications, which pass over wires, lines, or cables”)); In re Google Inc.

17   Gmail Litig., 2013 WL 5423918, at *21 (N.D. Cal. Sept. 26, 2013) (Koh, J.) (“the Court finds that

18   section 631 of CIPA applies to emails”); In re Google Assistant Privacy Litig., 457 F. Supp. 3d 797,

19   826 (N.D. Cal. 2020) (Labson Freeman, J.).

20          46.     The software embedded on Defendant’s Website to record and eavesdrop upon the

21   Class’s communications qualifies as a “machine, instrument, contrivance, or … other manner” used to

22   engage in the prohibited conduct alleged herein. See In re Facebook Internet Tracking Litig., 140 F.

23   Supp. 3d 922, 937 (N.D. Cal. 2015) (stating that “it is undeniable that a computer may qualify as a

24   ‘machine’” within the meaning of section 631(a)) (emphasis added), aff’d in part and rev’d in part on

25   other grounds, 956 F.3d 589 (9th Cir. 2020).

26          47.     At all relevant times, Defendant intentionally caused the internet communication

27   between Plaintiff and Class Members with Defendant’s Website to be recorded. Defendant also aided

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1    and abetted, agreed with, employed, or conspired with ASI to wiretap and/or eavesdrop upon such

2    conversations during transmission and in real time by voluntarily embedding the software code.

3           48.       Defendant knows that ASI captures the electronic communications of visitors to

4    Defendant’s Website, and pays ASI to conduct these activities.

5           49.       Plaintiff and Class Members did not expressly or impliedly consent to any of

6    Defendant’s actions.

7           50.       In numerous materially identical cases, courts have held that the above-described

8    allegations state viable claims for violations of section 631(a) of CIPA. See Byars v. The Goodyear

9    Tire & Rubber Co., No. 5:22-cv-01358-SSS-KKx, 2023 WL 1788553, at *4 (C.D. Cal. Feb. 3, 2023)

10   (Sykes, J.) (“Byars contends that Goodyear, using a third-party service, “intercepts in real time” a

11   website visitors’ chat conversation. . . . Byars alleges that, using the chat conversation, website

12   visitors share sensitive personal information. . . . . Because Byars has pled sufficient facts to show the

13   contents of the communications and that the communications were intercepted, Byars has sufficiently

14   stated a claim under § 631(a).”); Valenzuela v. Nationwide Ins., No. 2:22-cv-06177-MEMF-SK, - F.

15   Supp. 3d -, 2023 WL 5266033 (C.D. Cal. Aug. 14, 2023) (Frimpong, J.) (denying Motion to Dismiss);

16   Licea v. Jockey International, L.A.S.C. Case. No. 23STCV02906 (order overruling Demurrer dated

17   August 11, 2023); Licea v. Men’s Wearhouse, L.A.S.C. Case No. 23STCV02964 (order overruling

18   Demurrer dated July 24, 2023); and Licea v. MalwareBytes, Inc., San Bern. Sup. Ct. Case No. 22-

19   24245 (order overruling Demurrer dated July 19, 2023).

20          51.       Defendant’s conduct constitutes numerous discrete violations of Cal. Penal Code §

21   631(a), entitling Plaintiff and/or Class Members to injunctive relief and statutory damages.

22                                      SECOND CAUSE OF ACTION

23                CALIFORNIA UNAUTHORIZED ACCESS TO COMPUTER DATA ACT

24                                       PENAL CODE SECTION 502

25          52.       The California Unauthorized Access to Computer Data Act (the “CUCA”) makes it

26   unlawful for parties to obtain data from a computer user outside of the scope of the user’s

27   authorization.

28


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1             53.   Specifically, Penal Code Section 502(c) imposes liability on any entity that “knowingly

2    accesses and without permission” (1) uses any computer data, in order to “wrongfully control or

3    obtain” computer data, or (2) “makes use of any data from a computer…”

4             54.   CUCA provides a private right of action for compensatory damages, punitive damages,

5    and attorneys’ fees to any individual harmed by its violation. See Facebook, Inc. v. Power Ventures,

6    Inc., 2012 WL 542586 (N.D. Cal. Feb. 16, 2012).

7             55.   By knowingly installing the Identity Resolution Malware to access class member

8    devices and extract their personal information, Defendant violated CUCA. See United States v.

9    Christensen, 828 F.3d 763, 789 (9th Cir. 2015) (violation of CUCA to access a device and use data

10   improperly); and Gilbert v. City of Sunnyvale (2005) 130 Cal. App. 4th 1264, 1281 (accessing and

11   without permission making use of any data from a computer system) violates CUCA.

12                                       THIRD CAUSE OF ACTION

13                                CALIFORNIA INVASION OF PRIVACY

14            56.   Article I, § 1 of the California Constitution provides, “All people are by nature free and

15   independent and have inalienable rights. Among those are enjoying and defending life and liberty,

16   acquiring, possessing, and protecting property, and pursuing and obtaining safety, happiness, and

17   privacy.”

18            57.   The phrase “and privacy” was added by an initiative adopted by California voters on

19   November 7, 1972 (the Privacy Initiative). The Privacy Initiative created a private right of action

20   against nongovernmental entities for invasions of privacy.

21            58.   The California Supreme Court has explained that one of the principal “mischiefs” to

22   which the Privacy Initiative was directed was “the overbroad collection and retention of unnecessary

23   personal information by government and business interests.” White v. Davis, 13 Cal.3d 757, 775 (Cal.

24   1975).

25            59.   Defendant’s conduct in secretly accessing class member devices, gathering highly

26   personal details about them and their browsing history, and sharing that information with malware

27   companies amounts to doxing and violates class members’ rights to privacy.

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1           60.     Defendant assisted the malware companies to create etailed dossiers of class members

2    and then share it with and sell it to numerous other companies.

3           61.     Class members have the right to privacy in their web-browsing history; in how personal

4    information is going to be used; in the right to withhold and not disclose personal information; and all

5    statutory privacy rights codified under federal and California law.

6           62.     Defendant has intruded on these privacy interests.

7           63.     Defendant’s actions constitute a serious invasion of privacy in that they violate several

8    state laws; disclosed sensitive personal information to third parties; and facilitated the disclosure of

9    class member information by third parties who did not have legal access to their personal information.

10          64.     Defendant acted with oppression, fraud, or malice.

11          65.     Class members have been damaged by Defendant’s invasion of privacy and are entitled

12   to just compensation in the form of actual and punitive damages.

13                                      FOURTH CAUSE OF ACTION

14                                    INTRUSION UPON SECLUSION

15          66.     A claim for intrusion upon seclusion requires (1) intrusion into a private place,

16   conversation, or matter; and (2) in a manner highly offensive to a reasonable person.

17          67.     Defendant intentionally intruded upon class members’ solitude and seclusion by (1)

18   secretly accessing their devices to install identity resolution malware without their knowledge or

19   permission; and (2) mining their personal data and sharing it with malware companies.

20          68.     As set forth above, the right to online privacy is both actionable and expected by

21   consumers. As such, Defendant’s brazen de-anonymization of class members was highly offensive to

22   all reasonable persons.

23          69.     None of Defendant’s actions were authorized.

24          70.     Defendant violated state criminal and civil laws designed to protect individual privacy

25   and against theft.

26          71.     Defendant has acted with oppression, fraud, or malice.

27          72.     Class members are entitled to just compensation in the form of actual damages and

28   punitive damages under this cause of action.


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1                                         PRAYER FOR RELIEF

2          WHEREFORE, Plaintiff prays for the following relief against Defendant:

3          1.     An order certifying the Class, naming Plaintiff as the representative of the Class and

4                 Plaintiff’s attorneys as Class counsel;

5          2.     An order declaring Defendant’s conduct violates the above-referenced laws;

6          3.     All relief at law or equity that may be proper.

7    Dated: September 28, 2023                   PACIFIC TRIAL ATTORNEYS, APC




                                                    u
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9                                                By:
                                                 Scott. J. Ferrell
10                                               Attorneys for Plaintiff

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 1                                      PROOF OF SERVICE
                             STATE OF CALIFORNIA, COUNTY OF ORANGE
 2
             I am employed in the County of Orange, State of California. I am over the age of 18 and not a
 3   party to the within action; my business address is 4100 Newport Place Drive, Suite 800, Newport
     Beach, CA 92660.
 4
          On September 28, 2023, I served the foregoing document described as FIRST AMENDED
 5   CLASS ACTION COMPLAINT on the following person(s) in the manner indicated:

 6                                      SEE ATTACHED SERVICE LIST

 7   □       (BY MAIL) I am familiar with the practice of Pacific Trial Attorneys for collection and
     processing of correspondence for mailing with the United States Postal Service. Correspondence so
 8   collected and processed is deposited with the United States Postal Service that same day in the
     ordinary course of business. On this date, a copy of said document was placed in a sealed envelope,
 9   with postage fully prepaid, addressed as set forth herein, and such envelope was placed for collection
     and mailing at Pacific Trial Attorneys, Newport Beach, California, following ordinary business
10   practices.

11   □      (BY OVERNIGHT FEDERAL EXPRESS) I am familiar with the practice of Pacific Trial
     Attorneys for collection and processing of correspondence for delivery by overnight courier.
12   Correspondence so collected and processed is deposited in a box or other facility regularly maintained
     by Federal Express that same day in the ordinary course of business. On this date, a copy of said
13   document was placed in a sealed envelope designated by Federal Express with delivery fees paid or
     provided for, addressed as set forth herein, and such envelope was placed for delivery by Federal
14   Express at Pacific Trial Attorneys, Newport Beach, California, following ordinary business practices.

15   □       (BY HAND DELIVERY) I am familiar with the practice of Pacific Trial Attorneys for
     collection and processing of correspondence for hand delivery by courier. I caused such document t
16   be delivered by hand to the addresse(s) designated.

17   □       (BY      ELECTRONIC           SERVICE)          My       electronic  service    address     is
     _________________@pacifictrialattorneys.com. I am electronically serving the document described
18   above and a copy of this declaration to the person, on the date shown below, to the email addresses of
     the persons listed in the attached service list.
19
              (BY ELECTRONIC SERVICE via USA Legal) I am electronically serving the document
20   described above and a copy of this declaration to the person, on the date shown below, to the email
     addresses of the persons listed in the attached service list. I am readily familiar with the business’ practice
21   for filing electronically, and that the document would be electronically served the same day in the ordinary
     course of business following ordinary business practices.
22
            I declare under penalty of perjury under the laws of the State of California that the foregoing is
23   true and correct, and that this declaration was executed on September 28, 2023, at Newport Beach,
     California.
24
                                                     _____________________________
25                                                   Mandy K. Jung

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                                                         17
                                                  PROOF OF SERVICE
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                                            SERVICE LIST
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